                    Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 1 of 35

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OKLAHOMA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                International Energy Holding Company, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1801 E. 71st Street
                                  Tulsa, OK 74136
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Tulsa                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                     Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 2 of 35
Debtor    International Energy Holding Company, LLC                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                    Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 3 of 35
Debtor   International Energy Holding Company, LLC                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                    Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 4 of 35
Debtor    International Energy Holding Company, LLC                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 3, 2019
                                                  MM / DD / YYYY


                             X   /s/ Richard A. Adrey                                                     Richard A. Adrey
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Gary M. McDonald                                                      Date June 3, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Gary M. McDonald 5960
                                 Printed name

                                 McDonald & Metcalf, LLP
                                 Firm name

                                 15 E. 5th Street, Suite 1400
                                 Tulsa, OK 74103
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     918.430.3700                  Email address      gmcdonald@mmmsk.com

                                 5960 OK
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                    Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 5 of 35
Debtor     International Energy Holding Company, LLC                                        Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OKLAHOMA

Case number (if known)                                                   Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     AusTex HoldCo, LLC                                                      Relationship to you               Parent
District   Northern District of Oklahoma              When     6/03/19             Case number, if known             19-11139
Debtor     AusTex Oil Limited                                                      Relationship to you               Indirect Owner
District   Northern District of Oklahoma              When     6/03/19             Case number, if known             19-11138
Debtor     International Energy Company, LLC                                       Relationship to you               Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known
Debtor     International Energy Corporation                                        Relationship to you               Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known
Debtor     International Energy, LLC                                               Relationship to you               Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known
Debtor     International Oil & Gas, LLC                                            Relationship to you               Indirect Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known
Debtor     International Properties Partners, LLC                                  Relationship to you               Indirect Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
                   Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 6 of 35




 Fill in this information to identify the case:

 Debtor name         International Energy Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 3, 2019                            X /s/ Richard A. Adrey
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard A. Adrey
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                        Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 7 of 35


 Fill in this information to identify the case:
 Debtor name International Energy Holding Company, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                OKLAHOMA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 -NONE-




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                      Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 8 of 35
 Fill in this information to identify the case:

 Debtor name            International Energy Holding Company, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           476,022.50

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           476,022.50


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       33,018,867.90


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         33,018,867.90




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                   Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 9 of 35
 Fill in this information to identify the case:

 Debtor name         International Energy Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    IBC Bank
           3.1.     as of 05/31/2019                                        Checking                        5408                                  $476,022.50



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $476,022.50
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                   Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 10 of 35

 Debtor         International Energy Holding Company, LLC                                    Case number (If known)
                Name



                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     International Energy, LLC                                      100       %                                          Unknown




           15.2.     International Energy Company, LLC                              100       %                                          Unknown




           15.3.     International Energy Corporation                               100       %                                          Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                               $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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                  Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 11 of 35

 Debtor         International Energy Holding Company, LLC                                    Case number (If known)
                Name


        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 3
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                   Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 12 of 35

 Debtor          International Energy Holding Company, LLC                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $476,022.50

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $476,022.50           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $476,022.50




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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                  Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 13 of 35
 Fill in this information to identify the case:

 Debtor name         International Energy Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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                  Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 14 of 35
 Fill in this information to identify the case:

 Debtor name         International Energy Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $239,373.30
           Bruce Forman                                                         Contingent
           17847 Porto Merihe Way
                                                                                Unliquidated
           Pacific Palisades, CA 90272
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Preferred Shares - Class A Stock
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $377,370.60
           Bruce Forman                                                         Contingent
           17847 Porto Merihe Way
                                                                                Unliquidated
           Pacific Palisades, CA 90272
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Preferred Shares - Class B Stock
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $14,715,632.25
           Ptolemy Energy Holdings, LLC                                         Contingent
           Michael J. Stone, Manager
                                                                                Unliquidated
           1250 Prospect Street, Suite 200
           La Jolla, CA 92037                                                   Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Preferred Shares - Class A Stock
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $13,237,201.05
           Ptolemy Energy Holdings, LLC                                         Contingent
           Michael J. Stone, Manager
                                                                                Unliquidated
           1250 Prospect Street, Suite 200
           La Jolla, CA 92037                                                   Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Preferred Shares - Class B Stock
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 3
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                  Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 15 of 35
 Debtor       International Energy Holding Company, LLC                                               Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $1,146,434.10
           Weider Health & Fitness                                              Contingent
           20750 Ventura Blvd, Suite 310
                                                                                Unliquidated
           Woodland Hills, CA 91367
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Preferred Shares - Class A Stock
                                                                             Is the claim subject to offset?         No    Yes

 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $1,807,346.10
           Weider Health & Fitness                                              Contingent
           20750 Ventura Blvd, Suite 310
                                                                                Unliquidated
           Woodland Hills, CA 91367
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Preferred Shares - Class B Stock
                                                                             Is the claim subject to offset?         No    Yes

 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $580,444.05
           Young Capital Partners                                               Contingent
           Josh Young, Manager
                                                                                Unliquidated
           280 Neilson Way # 503
           Santa Monica, CA 90405                                               Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Preferred Shares - Class A Stock
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes

 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $915,066.45
           Young Capital Partners                                               Contingent
           Josh Young, Manager
                                                                                Unliquidated
           280 Neilson Way # 503
           Santa Monica, CA 90405                                               Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Preferred Shares - Class B Stock
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Benjamin Fischer, Esq.
           Morvillo Abramowitz Grand Iason & Anello                                                   Line     3.7
           565 5th Avenue
                                                                                                             Not listed. Explain
           New York, NY 10017-4000

 4.2       Benjamin Fischer, Esq.
           Morvillo Abramowitz Grand Iason & Anello                                                   Line     3.8
           565 5th Avenue
                                                                                                             Not listed. Explain
           New York, NY 10017-4000

 4.3       Martin Eisenberg, Esq.
           Law Offices of Martin Eisenberg                                                            Line     3.5
           100 Park Avenue, Suite 1600
                                                                                                             Not listed. Explain
           New York, NY 10017

 4.4       Martin Eisenberg, Esq.
           Law Offices of Martin Eisenberg                                                            Line     3.1
           100 Park Avenue, Suite 1600
                                                                                                             Not listed. Explain
           New York, NY 10017

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 3
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 Debtor       International Energy Holding Company, LLC                                           Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.5       Martin Eisenberg, Esq.
           Law Offices of Martin Eisenberg                                                       Line     3.6
           100 Park Avenue, Suite 1600
                                                                                                        Not listed. Explain
           New York, NY 10017

 4.6       Martin Eisenberg, Esq.
           Law Offices of Martin Eisenberg                                                       Line     3.2
           100 Park Avenue, Suite 1600
                                                                                                        Not listed. Explain
           New York, NY 10017

 4.7       Neil Tomlins, Esq.
           Tomlins & Peters, PLLC                                                                Line     3.3
           2431 E. 61st Street
                                                                                                        Not listed. Explain
           Tulsa, OK 74136

 4.8       Neil Tomlins, Esq.
           Tomlins & Peters, PLLC                                                                Line     3.4
           2431 E. 61st Street
                                                                                                        Not listed. Explain
           Tulsa, OK 74136


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.         $                         0.00
 5b. Total claims from Part 2                                                                       5b.    +    $                33,018,867.90

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.         $                   33,018,867.90




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         International Energy Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Employment Contract
             lease is for and the nature of               Terminated under
             the debtor's interest                        Accord and
                                                          Satisfaction
                  State the term remaining                See Below
                                                                                    Richard A. Adrey
             List the contract number of any                                        1726 Mission Springs Drive
                   government contract                                              Katy, TX 77450




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                  Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 18 of 35
 Fill in this information to identify the case:

 Debtor name         International Energy Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      AusTex HoldCo,                    1801 E. 71st Street                               Ptolemy Energy                     D
             LLC                               Tulsa, OK 74136                                   Holdings, LLC                      E/F       3.3
                                                                                                                                    G
                                               Co-Debtor for Claims to the Following
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




    2.2      AusTex Oil                        Level 5, 126 Phillip Street                       Ptolemy Energy                     D
             Limited                           Sydney, NSW Austraila 2000                        Holdings, LLC                      E/F       3.3
                                                                                                                                    G
                                               Co-Debtor for Claims to the Following
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 3
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 Debtor       International Energy Holding Company, LLC                                Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.3      International                     1801 E. 71st Street                          Ptolemy Energy                  D
             Energy                            Tulsa, OK 74136                              Holdings, LLC                   E/F       3.3
             Company, LLC
                                                                                                                            G
                                               Co-Debtor for Claims to the Following
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




    2.4      International                     1801 E. 71st Street                          Ptolemy Energy                  D
             Energy                            Tulsa, OK 74136                              Holdings, LLC                   E/F       3.3
             Corporation
                                                                                                                            G
                                               Co-Debtor for Claims to the Following
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




    2.5      International                     1801 E. 71st Street                          Ptolemy Energy                  D
             Energy, LLC                       Tulsa, OK 74136                              Holdings, LLC                   E/F       3.3
                                                                                                                            G
                                               Co-Debtor for Claims to the Following
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




    2.6      International Oil                 1801 E. 71st Street                          Ptolemy Energy                  D
             & Gas, LLC                        Tulsa, OK 74136                              Holdings, LLC                   E/F       3.3
                                                                                                                            G
                                               Co-Debtor for Claims to the Following
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




Official Form 206H                                                      Schedule H: Your Codebtors                                    Page 2 of 3
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 Debtor       International Energy Holding Company, LLC                                Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.7      International                     1801 E. 71st Street                          Ptolemy Energy                  D
             Properties                        Tulsa, OK 74136                              Holdings, LLC                   E/F       3.3
             Partners, LLC
                                                                                                                            G
                                               Co-Debtor for Claims to the Following
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




Official Form 206H                                                      Schedule H: Your Codebtors                                    Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         International Energy Holding Company, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2019 to Filing Date
                                                                                                   Other    Hedging


       For prior year:                                                                             Operating a business                                          $0.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other    Hedging


       For year before that:                                                                       Operating a business                               $177,446.13
       From 1/01/2017 to 12/31/2017
                                                                                                   Other    Hedging

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       For prior year:
       From 1/01/2018 to 12/31/2018                                                            Miscellaneous Income                                      $1,067.74


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       International Energy Holding Company, LLC                                                 Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               BMS Risk Solutions Pty LTD                                  02/26/2019                       $72,895.38                Secured debt
               Level 54, 111 Eagle Street                                                                                             Unsecured loan repayments
               Brisbane, QLD Austrailia 40000                                                                                         Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                   Other Director's Insurance
                                                                                                                                 Premium


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Richard Adrey                                               05/31/2019                      $350,000.00           Termination Fee - Executive
               1801 E. 71st Street                                                                                               Employment Agreement
               Tulsa, OK 74136
               Officer

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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 Debtor      International Energy Holding Company, LLC                                                      Case number (if known)



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                        Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To

 Part 8:      Health Care Bankruptcies


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
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 Debtor      International Energy Holding Company, LLC                                                  Case number (if known)



15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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 Debtor      International Energy Holding Company, LLC                                                  Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
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 Debtor      International Energy Holding Company, LLC                                                  Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    International Energy                             Oil & Gas Operator                               EIN:         XX-XXXXXXX
             Company, LLC
             1801 E. 71st Street                              Debtor, International Energy                     From-To      06/2014-Present
             Tulsa, OK 74136                                  Holding Company, LLC owns a
                                                              100% interest in International
                                                              Energy Company, LLC
                                                              (XX-XXXXXXX), a 100% interest in
                                                              International Energy Corporation
                                                              (XX-XXXXXXX), and a 100% interest
                                                              in International Energy, LLC
                                                              (XX-XXXXXXX).
    25.2.    International Energy, LLC                        Oil & Gas Production                             EIN:         XX-XXXXXXX
             1801 E. 71st Street
             Tulsa, OK 74136                                  Debtor, International Energy                     From-To      12/2013-Present
                                                              Holding Company, LLC owns a
                                                              100% interest in International
                                                              Energy Company, LLC
                                                              (XX-XXXXXXX), a 100% interest in
                                                              International Energy Corporation
                                                              (XX-XXXXXXX), and a 100% interest
                                                              in International Energy, LLC
                                                              (XX-XXXXXXX).
    25.3.    International Energy                             Oil & Gas Operator                               EIN:         XX-XXXXXXX
             Corporation
             1801 E. 71st Street                              Debtor, International Energy                     From-To      03/2006-Present
             Tulsa, OK 74136                                  Holding Company, LLC owns a
                                                              100% interest in International
                                                              Energy Company, LLC
                                                              (XX-XXXXXXX), a 100% interest in
                                                              International Energy Corporation
                                                              (XX-XXXXXXX), and a 100% interest
                                                              in International Energy, LLC
                                                              (XX-XXXXXXX).

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Hollie Heldmann                                                                                                            07/2008 - Present
                    11763 S 76th E Ave
                    Bixby, OK 74008
       26a.2.       Treasa Harris                                                                                                              3/2015 - 08/2017
                    10389 E 125th Pl S.
                    Bixby, OK 74008
       26a.3.       Vanicia Edwards                                                                                                            09/2017 - Present
                    Hancock & Company
                    4815 S Harvard Ave
                    Tulsa, OK 74135

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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                  Case 19-11140 Document 1 Filed in USBC ND/OK on 06/03/19 Page 27 of 35
 Debtor      International Energy Holding Company, LLC                                                  Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Hogan-Taylor, LLC                                                                                                    12/2014 - Present
                    P.O. Box 1481
                    Lowell, AR 72745

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Macquarie Bank Limited
                    1 Martin Place
                    Sydney, NSW Australia 2000
       26d.2.       IBC Bank
                    2250 E. 73rd Street
                    Tulsa, OK 74136
       26d.3.       Oklahoma Corporation Commission
                    Surety Dept
                    P.O. Box 5200
                    Oklahoma City, OK 73152-2000
       26d.4.       Lockton Insurance Companies
                    Dept. 3036
                    P.O. Box 123035
                    Dallas, TX 75312

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Richard A. Adrey                               1726 Mission Springs Drive                          Manager
                                                      Katy, TX 77450

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nicholas J. Stone                              1250 Prospect Street, Suite 200                     Director
                                                      La Jolla, CA 92037

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Hollie Heldmann                                11763 S. 76th E. Ave                                Assistant Secretary
                                                      Bixby, OK 74008


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 Debtor       International Energy Holding Company, LLC                                                 Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       AusTex HoldCo, LLC                             1801 E. 71st Street                                 Member                                100%
                                                      Tulsa, OK 74136



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 AusTex Oil Limited
       .    Level 5, 126 Phillip Street                          $50,000.00                                              09/28/2017
               Sydney, NSW Australia 2000                        $16,087.35                                              12/07/2017        Operating Capital

               Relationship to debtor
               100% Shareholder of AusTex
               HoldCo, LLC, Debtor's Parent
               Company


       30.2                                                      $38,804.69
       .                                                         $37,923.79                                              05/03/2018
                                                                 $38,506.54                                              08/08/2018
                                                                 $37,638.98                                              08/28/2018
                                                                 $37,082.04                                              11/13/2018
                                                                 $37,082.04                                              01/07/2019
               AusTex Oil Limited                                $72,895.38                                              02/07/2019
               Level 5, 126 Phillip Street                       $31,878.62                                              02/26/2019
               Sydney, NSW 2000 Austrailia                       TOTAL - $331,812.08                                     05/28/2019        Operating Capital

               Relationship to debtor
               100% Shareholder of AusTex
               HoldCo, LLC, Debtor's Parent
               Company


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    AusTex Oil, Ltd                                                                                            EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

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 Debtor      International Energy Holding Company, LLC                                                  Case number (if known)



    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 3, 2019

 /s/ Richard A. Adrey                                                   Richard A. Adrey
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re       International Energy Holding Company, LLC                                                        Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $           Post-Petition fees approved by
                                                                                                                                   Bankruptcy Court
             Prior to the filing of this statement I have received                                        $                        $300,000.00 Retainer
             Balance Due                                                                                  $               None, as of filing of Petition

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify): $50,000.00 Retainer Paid by International Energy Company, LLC; $250,000.00
                                                              Retainer Paid by International Energy, LLC.

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify): Debtor and affiliates of Debtor, as approved by the Bankruptcy Court

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with creditors; exemption planning

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service: None

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 3, 2019                                                                /s/ Gary M. McDonald
     Date                                                                        Gary M. McDonald 5960
                                                                                 Signature of Attorney
                                                                                 McDonald & Metcalf, LLP
                                                                                 15 E. 5th Street, Suite 1400
                                                                                 Tulsa, OK 74103
                                                                                 918.430.3700
                                                                                 gmcdonald@mmmsk.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      International Energy Holding Company, LLC                                                                 Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 AusTex HoldCo, LLC                                                                                                              100% Ownership
 1801 East 71st Street
 Tulsa, OK 74136


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date June 3, 2019                                                           Signature /s/ Richard A. Adrey
                                                                                            Richard A. Adrey

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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Revised 02/2012



                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      International Energy Holding Company, LLC                                                      Case No.
                                                                                  Debtor(s)                Chapter    11


                                               VERIFICATION AS TO OFFICIAL CREDITOR LIST

                                                                                   Original
                                                                                   Amendment
                                                                            Add             Delete
        I hereby certify under penalty of perjury that the master mailing list of creditors submitted either on the Creditor
List Submission application, or uploaded to the Electronic Case Filing System is a true, correct and complete listing to the
best of my knowledge.

         I further acknowledge that (1) the accuracy and completeness in preparing the creditor listing are the shared
responsibility of the debtor and the debtor’s attorney, (2) the court will rely on the creditor listing for all mailings, and (3)
that the various schedules and statements required by the Bankruptcy Rules are not used for mailing purposes.

        If this filing is an amendment to the creditor list, indicate only the number of creditors being added or to be
deleted at this time. (For verification purposes, attach a list of the creditors being submitted, uploaded, or to be
deleted.)

               19      # of Creditors (or if amended, # of creditors added)

Method of submission:
       a)    X     uploaded to Electronic Case Filing System; or
       b) _______Creditor List Submission application (to be used by Pro Se filers, found on the Court’s website at
                    www.oknb.uscourts.gov, or available in the Clerk’s Office)
__________# of Creditors (on attached list) to be deleted

 /s/ Richard A. Adrey
 Debtor Signature                                                             Joint Debtor Signature
 Address:(if not represented by an attorney)                                  Address:(if not represented by an attorney)


 Phone:(if not represented by an attorney)                                    Phone:(if not represented by an attorney)


 /s/ Gary M. McDonald                                                         Date: June 3, 2019
 Attorney Signature
 Gary M. McDonald 5960                                                        [Check if applicable]
 McDonald & Metcalf, LLP                                                         Creditors with foreign addresses included
 15 E. 5th Street, Suite 1400
 Tulsa, OK 74103-0000
 918.430.3700

 gmcdonald@mmmsk.com




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                     AusTex HoldCo, LLC
                     1801 E. 71st Street
                     Tulsa, OK 74136

                     AusTex Oil Limited
                     Level 5, 126 Phillip Street
                     Sydney, NSW Austraila 2000

                     Benjamin Fischer, Esq.
                     Morvillo Abramowitz Grand Iason & Anello
                     565 5th Avenue
                     New York, NY 10017-4000

                     Bruce Forman
                     17847 Porto Merihe Way
                     Pacific Palisades, CA 90272

                     Internal Revenue Service
                     P.O. Box 7346
                     Philadelphia, PA 19101-7346

                     International Energy Company, LLC
                     1801 E. 71st Street
                     Tulsa, OK 74136

                     International Energy Corporation
                     1801 E. 71st Street
                     Tulsa, OK 74136

                     International Energy, LLC
                     1801 E. 71st Street
                     Tulsa, OK 74136

                     International Oil & Gas, LLC
                     1801 E. 71st Street
                     Tulsa, OK 74136

                     International Properties Partners, LLC
                     1801 E. 71st Street
                     Tulsa, OK 74136

                     Martin Eisenberg, Esq.
                     Law Offices of Martin Eisenberg
                     100 Park Avenue, Suite 1600
                     New York, NY 10017

                     Neil Tomlins, Esq.
                     Tomlins & Peters, PLLC
                     2431 E. 61st Street
                     Tulsa, OK 74136

                     Office of the Attorney General
                     State of Oklahoma
                     313 NE 21st Street
                     Oklahoma City, OK 73105
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                 Oklahoma Tax Commission
                 General Counsel's Office
                 100 N Broadway Ave, Suite 1500
                 Oklahoma City, OK 73102-8601

                 Ptolemy Energy Holdings, LLC
                 Michael J. Stone, Manager
                 1250 Prospect Street, Suite 200
                 La Jolla, CA 92037

                 Richard A. Adrey
                 1726 Mission Springs Drive
                 Katy, TX 77450

                 U.S. Attorney's Office
                 Northern District of Oklahoma
                 110 W. 7th St., Suite 300
                 Tulsa, OK 74119

                 Weider Health & Fitness
                 20750 Ventura Blvd, Suite 310
                 Woodland Hills, CA 91367

                 Young Capital Partners
                 Josh Young, Manager
                 280 Neilson Way # 503
                 Santa Monica, CA 90405
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                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      International Energy Holding Company, LLC                                                    Case No.
                                                                                    Debtor(s)            Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for International Energy Holding Company, LLC in the above captioned action, certifies
that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s)
10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:
 AusTex HoldCo, LLC
 1801 East 71st Street
 Tulsa, OK 74136




    None [Check if applicable]




 June 3, 2019                                                          /s/ Gary M. McDonald
 Date                                                                  Gary M. McDonald 5960
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for International Energy Holding Company, LLC
                                                                       McDonald & Metcalf, LLP
                                                                       15 E. 5th Street, Suite 1400
                                                                       Tulsa, OK 74103
                                                                       918.430.3700
                                                                       gmcdonald@mmmsk.com




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